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                                                                  ENTERED
                                                                  05/18/2018




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Signed: May 16, 2018.

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                                  DAVID R. JONES
                                  UNITED STATES BANKRUPTCY JUDGE
